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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 WADE HAMMOND, individually, and on
 behalf of all others similarly situated,

 v.                                                      Case No.: 1:18-cv-02092

 ATLANTIC CREDIT & FINANCE, INC.,                        Honorable Judge Sara L. Ellis

 Defendant.

                          NOTICE OF VOLUNTARY DISMISSAL

        NOW COME the Plaintiff, WADE HAMMOND by and through his attorney, SULAIMAN

LAW GROUP, LTD., and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby

voluntarily dismisses his individual capacity claim against the Defendant ATLANTIC CREDIT &

FINANCE, INC., with prejudice. This Notice of Voluntary Dismissal does not operate to dismiss

the claims of any putative class members.


Dated: Sept. 21, 2018                                      Respectfully Submitted,

                                                           /s/ James C. Vlahakis________
                                                           James C. Vlahakis, Esq.
                                                           Sulaiman Law Group, Ltd.
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                                                           jvlahakis@sulaimanlaw.com
                                                           Counsel for Plaintiff

                                CERTIFICATE OF SERVICE

       I, James C. Vlahakis, counsel for Plaintiff certify that I caused a copy of the document to
be served by ECF on all ECF-registered counsel of record, this 21stday of September, 2018.

                                                           /s/ James C. Vlahakis
